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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               GREENBELT DIVISION

IVANIA AMADOR, CHRISTINA                    *
SEGUNDO-HERNANDEZ,                          *
ANGEL BURGOS JIMENEZ,                       *
JUANA RUEDA, JONAH ELIJAH                   *
MACIAS, BRADLEY HARMON,                     *
ERICA VACA, KELLY HERNANDEZ                 *
BILLY CROAN, MARY RAMIREZ,                  *
YANET JOVE-AGUILAR, KRISTEN                 *
CENDAJES, KEVIN SANCHEZ,                    *
WILLIAM RAMOS, HARLON WILSON,               *
and ZACHARY SHANKS,                         *
                                            *
               Plaintiffs,                  *
                                            *
       v.                                   *    Civil Action No. 1:20-cv-01102-ELH
                                            *
STEVEN MNUCHIN, sued in his official *
capacity as U.S. Secretary of the Treasury; *
CHARLES RETTIG, sued in his official        *
capacity as U.S. Commissioner of Internal *
Revenue; U.S. DEPARTMENT OF THE             *
TREASURY; and the U.S. INTERNAL             *
REVENUE SERVICE,                            *
                                            *
               Defendants.                  *


                   FIRST AMENDED CLASS ACTION COMPLAINT
                   FOR DECLARATORY AND INJUNCTIVE RELIEF

                                     INTRODUCTION

1.     In response to the severe health and economic crisis caused by the COVID-19 pandemic,

       the U.S. Congress enacted the Coronavirus Aid, Relief, and Economic Security Act

       (“CARES Act”). One critical provision of the CARES Act creates recovery payments for

       individuals in order to provide direct economic assistance to workers and families. 26

       U.S.C. § 6428(a). Although the recovery payments are intended to protect the American
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       people from the public health and economic impacts of COVID-19, the CARES Act

       excludes married couples where one spouse lacks a social security number. 26 U.S.C. §

       6428(g)(1)(B). These married couples receive no recovery payments.

2.     Plaintiffs are individuals who possess social security numbers and whose spouses lack

       social security numbers.     Pursuant to 26 U.S.C. § 6428(g)(1)(B), Plaintiffs receive no

       recovery payments under 26 U.S.C. § 6428(a) even though they have social security

       numbers and their children are “qualifying children” within the meaning of 26 U.S.C. §

       24(c). .

3.     Plaintiffs seek a declaration that 26 U.S.C. § 6428(g)(1)(B) is unconstitutional. Plaintiffs

       further seek class-wide relief enjoining enforcement of 26 U.S.C. § 6428(g)(1)(B) and

       further requiring Defendants to treat Plaintiffs, and those similarly-situated, the same as

       other married individuals.

                                           PARTIES

Plaintiffs

4.     Plaintiff IVANIA AMADOR is a United States citizen who lives with her husband and

       three U.S. citizen children in Frederick, Maryland. Plaintiff AMADOR has been married

       to her husband for 6 years. Plaintiff AMADOR has a social security number and her

       husband does not have a social security number.

5.     Plaintiff CHRISTINA SEGUNDO-HERNANDEZ is a United States citizen who lives with

       her husband and their four U.S. citizen children in Fort Worth, Texas.             Plaintiff

       SEGUNDO-HERNANDEZ has been married to her husband for 5 years.                     Plaintiff

       SEGUNDO-HERNANDEZ has a social security number and her husband does not have a

       social security number.




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6.    Plaintiff ANGEL BURGOS JIMENEZ is a United States citizen who lives with her

      husband and five U.S. citizen children in Bristol, Virginia. Plaintiff BURGOS JIMENEZ

      has been married to her husband for 4 years. Plaintiff JIMENEZ has a social security

      number and her husband does not have a social security number.

7.    Plaintiff JUANA RUEDA is a United States citizen who lives with her husband and three

      children in Columbus, Ohio. Plaintiff RUEDA and her husband have been married for 3

      years. Plaintiff RUEDA has a social security number and her husband does not have a

      social security number. One of Plaintiff RUEDA’s children reaches the age of 17 in the

      2020 calendar year.

8.    Plaintiff JONAH ELIJAH MACIAS is a United States citizen who lives with his wife and

      one U.S. citizen child in Granger, Washington. Plaintiff MACIAS has been married to his

      wife for 2 years. Plaintiff MACIAS has a social security number and his wife does not

      have a social security number.

9.    Plaintiff BRADLEY HARMON is a United States citizen who lives with his wife and four

      U.S. citizen children in Roy, Utah. Plaintiff HARMON has been married to his wife for 6

      years. Plaintiff HARMON has a social security number and his wife does not have a social

      security number.

10.   Plaintiff ERICA VACA is a United States citizen who lives with her husband and three

      U.S. citizen children in Sacramento, California. Plaintiff VACA has been married to her

      husband for 9 years. Plaintiff VACA has a social security number and her husband does

      not have a social security number.

11.   Plaintiff KELLY HERNANDEZ is a United States citizen who lives in West Columbia,

      South Carolina. Plaintiff HERNANDEZ has been married to her husband for 1 year.




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      Plaintiff HERNANDEZ has a social security number and her husband does not have a

      social security number.

12.   Plaintiff BILLY CROAN is a United States citizen who lives with his husband in Merriam,

      Kansas. Plaintiff CROAN has been married to his husband for 7 months. Plaintiff

      CROAN has a social security number and his husband does not have a social security

      number.

13.   Plaintiff MARY RAMIREZ is a United States citizen who lives with her husband and two

      U.S. citizen children in Mars Hill, North Carolina. Plaintiff RAMIREZ has been married

      to her husband for 21 years. Plaintiff RAMIREZ has a social security number and her

      husband does not have a social security number.

14.   Plaintiff YANET JOVE-AGUILAR is a United States citizen who lives with her husband

      and four U.S. citizen children in DeSoto, Texas. Plaintiff JOVE-AGUILAR has been

      married to her husband for 11 years. Plaintiff JOVE-AGUILAR has a social security

      number and her husband does not have a social security number.

15.   Plaintiff KRISTEN CENDAJES is a United States citizen who lives with her husband and

      three U.S. citizen children in Appleton, Wisconsin. Plaintiff CENDAJES has been married

      to her husband for 6 years. Plaintiff CENDAJES has a social security number and her

      husband does not have a social security number.

16.   Plaintiff KEVIN SANCHEZ is a United States citizen who lives with his wife and one U.S.

      citizen child in Dallas, Texas. Plaintiff SANCHEZ has been married to his wife for 3

      years. Plaintiff SANCHEZ has a social security number and his wife does not have a social

      security number.




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17.   Plaintiff WILLIAM RAMOS is a United States citizen who lives with his wife and two

      U.S. citizen children in Chicago, IL. Plaintiff RAMOS has been married to his wife for 9

      years. Plaintiff RAMOS has a social security number and his wife does not have a social

      security number.

18.   Plaintiff HARLON WILSON is a United States citizen who lives with his husband in

      Indianapolis, IN. Plaintiff WILSON has been married to his husband for 5 years. Plaintiff

      WILSON has a social security number and his husband does not have a social security

      number.

19.   Plaintiff ZACHARY SHANKS is a United States citizen who lives with his wife and two

      U.S. citizen children in Cathedral City, California. Plaintiff SHANKS has been married to

      his wife for 3 years. Plaintiff SHANKS has a social security number and his wife does not

      have a social security number.

Defendants

20.   Defendant STEVEN T. MNUCHIN is the Secretary of the U.S. Department of the

      Treasury. In that capacity, among other things he oversees the collection of revenue, the

      preparation of plans for the improvement and management of the revenue and the

      preparation and report of estimates of the public revenue and public expenditures. As

      Secretary, Defendant Mnuchin exercises full authority to administer and enforce the

      internal revenue laws and has the power to create an agency to enforce these laws. As part

      of his duties, Defendant Mnuchin oversees the issuance of recovery payments to eligible

      individuals under the CARES Act. He is sued in his official capacity. At all times relevant

      herein, Defendant Mnuchin acted in an official capacity and under color of legal authority.




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21.   Defendant CHARLES RETTIG is the United States Commissioner of Internal Revenue.

      In that capacity, Defendant Rettig administers the application of the internal revenue laws

      and tax conventions to which the United States is a party. 26 U.S.C. § 7803. Defendant

      Rettig reports to the Secretary of the Treasury Defendant Mnuchin. As part of his duties,

      Defendant Rettig oversees the issuance of recovery payments to eligible individuals under

      the CARES Act. He is sued in his official capacity. At all times relevant herein, Defendant

      Rettig acted in an official capacity and under color of legal authority.

22.   Defendant U.S. DEPARTMENT OF THE TREASURY is an agency of the U.S.

      government. The Department of the Treasury operates and maintains systems that are

      critical to the nation's financial infrastructure, such as the production of coin and currency,

      the disbursement of payments to the American public, revenue collection, and the

      borrowing of funds necessary to run the federal government.

23.   Defendant U.S. INTERNAL REVENUE SERVICE is a bureau of the U.S. Department of

      the Treasury organized to carry out the responsibilities of the Secretary of the Treasury

      under section 7801 of the Internal Revenue Code. The Internal Revenue Service was

      created based on the legislative grant of authority to the Secretary of the Treasury to enforce

      the internal revenue laws. The IRS calculates and sends recovery payments to those eligible

      under the CARES Act.

                               JURISDICTION AND VENUE

24.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and § 1343 over

      Plaintiffs’ causes of action under the United States Constitution. This Court may grant

      Plaintiffs’ request for declaratory and injunctive relief under 28 U.S.C. §§ 2201 and 2202.




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25.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(e)(1), because: 1) a

       substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this

       District, and 2) Plaintiff Ivania Amador resides in Frederick, Maryland within this District

       and no real property is involved in this action.

26.    The United States has waived sovereign immunity for this action for declaratory and

       injunctive relief against its agencies, and the agencies’ officers are sued in their official

       capacities. 5 U.S.C. § 702.

                                 FACTUAL ALLEGATIONS

A.     COVID-19 and the CARES Act

27.    In March, 2020, the United States saw a drastic increase in the number of its residents who

       became sick and died from COVID-19.                On March 11, 2020, the World Health

       Organization declared COVID-19 a global pandemic. On March 13, 2020, President

       Donald J. Trump declared COVID-19 a national emergency.

28.    According to the U.S. Department of Labor, the national unemployment rate jumped to

       4.4% in March 2020, up from 3.5% in February. This was the largest month-to-month

       increase since January 1975.1 The increase in unemployment was driven by COVID-19

       and the shelter-in-place orders implemented to combat the coronavirus. According to the

       Department of Labor, employment in leisure and hospitality fell by 459,000, mainly in

       food services and drinking places, and declines also occurred in health care and social

       assistance, professional and business services, retail trade, and construction.




1
 U.S. Department of Labor, Bureau of Labor Statistics, “THE EMPLOYMENT SITUATION
— MARCH 2020,” available at https://www.bls.gov/news.release/pdf/empsit.pdf (last visited
April 27, 2019).


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29.    To provide families and workers assistance during this once-in-a-lifetime economic and

       health crisis, Congress enacted H.R. 748, the CARES Act. The Senate passed the CARES

       Act with a vote of 96 to 0 on March 25, 2020 and on March 27, 2020, the House of

       Representatives passed the CARES Act by voice vote. On March 27, 2020, the President

       signed the CARES Act into law (Public Law Number 116-136).

30.    At the signing of the CARES Act, President Donald J. Trump stated: “This is a very

       important day. I’ll sign the single-biggest economic relief package in American history[.]

       And this will deliver urgently needed relief to our nation’s families, workers, and

       businesses.”2

31.    Section 2201 of the CARES Act amends Subchapter B of chapter 65 of subtitle F of the

       Internal Revenue Code of 1986, by adding a new section 6428. Section 6428 is codified

       at 26 U.S.C. § 6428.

32.    Section 6428(a) provides economic stimulus payments (“recovery payments”) to

       individuals.    Under section 6428(a) each “eligible individual” receives $1,200, and

       “eligible individuals filing a joint return” receive $2,400. Section 6428(a)(2) provides each

       eligible individual an additional $500 for each of the individual’s “qualifying children.”

       Section 6428(c) lessens these amounts for individuals making more than $75,000 and

       married couples filing jointly who make more than $150,000.

33.    Section 6428, through a combination of provisions, excludes otherwise qualified

       individuals from receiving the CARES Act recovery payments solely because their spouses

       lack social security numbers.



2
 The White House, “Remarks by President Trump at Signing of H.R.748, The CARES Act,”
available at https://www.whitehouse.gov/briefings-statements/remarks-president-trump-signing-
h-r-748-cares-act/ (last visited April 27, 2020).


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34.   Under Section 6428(d), Plaintiffs are defined as “eligible individual[s]” because they are

      neither “nonresident alien individual[s]” nor dependent children.

35.   Plaintiffs’ children are also defined as “qualifying” for the recovery payments under

      Section 6428(a)(2). 26 U.S.C § 24(c).

36.   However, Section 6428(g)(1)(B) also requires an eligible individual’s spouse to have

      provided a “valid identification number” on the most recent jointly-filed tax return with the

      IRS.

37.   Section 6428(g)(2) defines a “valid identification number” for an adult as a social security

      number.

38.   Sections 6428(g)(1)(B) and (g)(2) operate together to require both spouses to have social

      security numbers in order for any member of the family, including qualifying children, to

      be included in the recovery payment.

39.   Plaintiffs’ spouses possess Individual Taxpayer Identification Numbers (ITIN) issued to

      them by Defendant U.S. Internal Revenue Service.

40.   An ITIN is not a social security number and is not a “valid identification number” for the

      purpose of providing a recovery payment under Section 6428(a) of the CARES Act.

41.   On their most recent tax returns, Plaintiffs provided their social security numbers, which is

      required by Section 6428(g)(1)(A) in order for an eligible individual to receive a recovery

      payment. Plaintiffs also provided their children’s social security numbers, which is

      required by Section 6428 (g)(1)(C) in order for payments for qualifying children to be

      included in the recovery payments. Plaintiffs also provided the ITINs of their spouses on

      the tax returns.




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42.      However, as a result of Section 6428(g)(1)(B), although Plaintiffs are otherwise eligible to

         receive recovery payments under Section 6428 (a) of the CARES Act, Plaintiffs did not

         receive recovery payments because their spouses lack social security numbers.

43.      But for their spouses lacking social security numbers, Plaintiffs would have received

         recovery payments for themselves and their children under the CARES Act, 26 U.S.C.

         §6428(a).

44.      There is no mechanism by which Plaintiffs can dispute their exclusion from recovery

         payments.

45.      During the U.S. House of Representatives debate on the CARES Act, Representative TJ

         Cox pointed out what he called “this bill’s glaring shortcomings,” which included the fact

         that the bill “punishes mixed-status households and denies some American citizens benefits

         they deserve.”3

46.      The original Senate version of the CARES Act, S. 3548, required all married joint filers to

         include social security numbers for both spouses.         However, the Senate created an

         exception for cases in which “at least 1 spouse was a member of the Armed Forces of the

         United States at any time during the taxable year and at least 1 spouse [has a social security

         number].” Section 6428(g)(3). The exception for military mixed-status couples appeared

         in the Senate’s final version of the CARES Act, H.R. 748, and was enacted into law.

47.      None of the Plaintiffs or their spouses was a member of the Armed Forces of the United

         States at any time during the taxable year.

48.      Prior to Senate passage of the CARES Act, the U.S. House of Representatives on March

         23, 2020 took up (but did not pass) its own proposal, H.R. 6379, which also provided



3
    166 Cong. Rec. H1841 (daily ed. Mar. 27, 2020) (statement of Rep. Cox of Cal.).


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          recovery payments to families.4 H.R. 6379 did not require joint filers to provide social

          security numbers for both spouses and did not exclude the ITIN as a valid tax identification

          number.

49.       Section 6428(g)(3) of the CARES Act demonstrates that Congress was aware that recovery

          payments would be generally unavailable to qualified individuals who are married to and

          jointly file their taxes with non-citizens who lack a social security number.

50.       The exclusion of ITINs from the definition of a “valid identification number” for the

          purpose of providing a recovery payment under the CARES Act, and the exception created

          for current members of the Armed Forces, demonstrate that Congress purposefully

          excluded from recovery payment eligibility individuals with social security numbers who

          are married to spouses who lack a social security number.

51.       In the weeks following passage of the CARES Act, the U.S. economy continued to contract

          because of the COVID-19 pandemic. Across the U.S., states shut down schools and

          businesses and ordered residents to stay at home to slow the spread of the coronavirus.5

          On May 14, 2020, the U.S. Department of Labor reported that the advance seasonally

          adjusted insured unemployment rate was 15.7% for the week ending May 9, 2020.6 The

          number of initial jobless claims totaled 4,180,500 in the week ending May 2, 2020.

52.       The U.S. is now the country with the highest number of reported COVID-19 cases.7



4
    Take Responsibility for Workers and Families Act, H.R. 6379, 116th Cong. div. T, tit. II, § 201 (2020).
5
  The New York Times, “See Which States Are Reopening and Which Are Still Shut Down,”
April 27, 2020, available at https://www.nytimes.com/interactive/2020/us/states-reopen-map-
coronavirus.html (last visited April 28, 2020).
6
  U.S. Department of Labor, “News Release, Unemployment Insurance Weekly Claims,” May
14, 2020, available at https://www.dol.gov/ui/data.pdf (last visited May 14, 2020).
7
  The New York Times, “Coronavirus Map: Tracking the Global Outbreak,” April 27, 2020,
available at https://www.nytimes.com/interactive/2020/world/coronavirus-
maps.html?action=click&pgtype=Article&state=default&module=styln-


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B.     Background on Individual Taxpayer Identification Numbers

53.    An ITIN is a unique tax processing number that the U.S. Internal Revenue Service issues

       to individuals who do not have and are not eligible for a social security number. I.R.C. §

       6109; Treas. Reg. § 301.6109-1(a)(1)(ii)(B). Individuals use the ITIN to fulfill their legal

       obligation to file federal tax returns when their lack of formal immigration status prevents

       them from obtaining a social security number. An ITIN does not confer any immigration

       status or provide work authorization or eligibility for social services programs.8

54.    Federal law generally requires all wage earners to file tax returns and use an identification

       number. I.R.C. § 1. Individuals apply for an ITIN by submitting a W-7 form and a

       completed tax return to the IRS. I.R.C. § 6109. The W-7 form requires applicants to prove

       their identity and foreign status with any of 13 acceptable documents by the IRS, such as a

       passport or a birth certificate.9

55.    The ITIN application process is not an immigration enforcement tool, and the IRS is

       prohibited by law from sharing any taxpayer information with any other governmental

       agencies. I.R.C. § 6103(a). An estimated 4.3 million adults file taxes using an ITIN.10 The

       IRS estimates ITIN tax filers pay over $9 billion in annual payroll taxes.11




coronavirus&variant=show&region=TOP_BANNER&context=storyline_menu (last visited
April 28, 2020).
8
  Internal Revenue Serv., “Instructions for Form W-7” (Sept. 2019), available at
https://www.irs.gov/pub/irs-pdf/iw7.pdf (last visited April 27, 2020).
9
  Internal Revenue Serv., “Instructions for Form W-7” (Sept. 2019), available at
https://www.irs.gov/pub/irs-pdf/iw7.pdf (last visited April 27, 2020).
10
   Institute on Taxation and Economic Policy, “How the Tax Rebate in the Senate’s Bill
Compares to Other Proposals,” (March 25, 2020), available at https://itep.org/how-the-tax-
rebate-in-the-senates-bill-compares-to-other-proposals/ (last visited April 27, 2020).
11
   Internal Revenue Serv., “IRS Nationwide Tax Forum: Immigration and Taxation” (2014),
available at https://www.irs.gov/pub/irs-utl/20-Immigration%20and%20Taxation.pdf (last visited
April 27, 2020).


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C.     Mixed-Status Families

56.    The Migration Policy Institute, a nonpartisan organization, estimates that close to two

       million U.S. citizens or lawful permanent residents are married to undocumented

       immigrants.12 Four million children in the U.S. share a home with at least one parent who

       is unauthorized.13

57.    Families that contain a non-U.S. citizen spouse are particularly vulnerable to the economic

       dislocation associated with the COVID-19 pandemic.

58.    Accommodation and food services, health care and social assistance, administrative and

       waste services, and retail trade are the industries that experienced the biggest job layoffs in

       March 2020, according to the latest employment data.14 Non-U.S. citizen immigrants make

       up a strong proportion of the workers in these industries.15

59.    Foreign-born workers earn less than native-born workers. In 2018, median usual weekly

       earnings of foreign-born, full-time wage and salary workers were 83.3 percent of the

       earnings of their native-born counterparts.16 In addition, non-U.S. citizen immigrants are

       significantly more likely than citizens to lack health insurance.17



12
   Migration Policy Institute, “Profile of the Unauthorized Population:
United States,” available at https://www.migrationpolicy.org/data/unauthorized-immigrant-
population/state/US#marital (last visited April 27, 2020).
13
   Migration Policy Institute, “A Profile of U.S. Children with Unauthorized Immigrant Parents,”
available at https://www.migrationpolicy.org/research/profile-us-children-unauthorized-
immigrant-parents (last visited April 27, 2020).
14
   U.S. Bureau of Labor Statistics, “Current Employment Statistics,” April 3, 2020, available at
https://www.bls.gov/web/empsit/ceseeb1a.htm (last visited April 27, 2020)
15
   U.S. Bureau of Labor Statistics, “Foreign-Born Workers: Labor Force Characteristics --
2018,” May 16, 2019, available at https://www.bls.gov/news.release/pdf/forbrn.pdf (last visited
April 27, 2020)
16
   Id.
17
   Kaiser Family Foundation, “Health Coverage of Immigrants,” March 18, 2020, available at
https://www.kff.org/disparities-policy/fact-sheet/health-coverage-of-immigrants/ (last visited
April 27, 2020).


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60.   Plaintiffs possess social security numbers and their spouses, with whom they live and raise

      children, do not possess social security numbers.

61.   Plaintiffs pay taxes and file their tax returns jointly with their spouses just like other

      married individuals. Filing joint tax returns with their spouses is part of married life for

      Plaintiffs. Plaintiffs jointly filed their tax returns to express their family union to the

      government and society. Plaintiffs’ desire to jointly file their taxes is an expression of their

      marriages and the unity of their families, in addition to securing the benefits available to

      spouses who file jointly. Those benefits include, for some plaintiffs, demonstrating their

      family union to the government as part of the process of seeking permanent residency for

      their spouses.

62.   Most married couples pay a lower rate of income tax if they file jointly compared to filing

      separately.

63.   It is important to Plaintiffs' fundamental right to self-determination to express to whom

      they are married. That expression is sacred to them. Expressing that they are married and

      expressing to whom they are married dignifies the Plaintiffs’ wish to define themselves by

      their commitment to their spouses.

64.   Plaintiffs jointly file tax returns to give recognition to their marriage and families, and to

      allow their children to understand the integrity and closeness of their families and their

      concord with other families in their communities.

65.   The CARES Act’s and Defendants’ failure to provide Plaintiffs recovery payments

      disparages Plaintiffs’ choices and diminishes their personhood. By denying Plaintiffs and

      other mixed-status couples recovery payments, the CARES Act and Defendants force

      Plaintiffs and their children to suffer the stigma of knowing their families are adversely




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      treated compared to other families. The CARES Act and Defendants humiliate Plaintiffs

      and the children of mixed-status couples by treating them adversely as compared to other

      families.

                             CLASS ACTION ALLEGATIONS

66.   Plaintiffs bring this action on their own behalf and all other persons similarly situated,

      pursuant to Federal Rule of Civil Procedure 23.

67.   Plaintiffs bring this action individually and on behalf of a class defined as: All persons

      who are otherwise qualified for and would have received recovery payments but for the

      fact that they are excluded by 26 U.S.C. § 6428(g)(1)(B) because their spouses lack social

      security numbers, and where neither the person nor the spouse was a member of the Armed

      Forces of the United States at any time during the taxable year.

68.   Plaintiffs reserve the right to amend the Class and any potential subclass definitions if

      further investigation and discovery indicate that the Class and potential subclass definitions

      should be narrowed, expanded, or otherwise modified. Excluded from the Class and

      potential subclass are any judge, justice, or judicial officer presiding over this matter and

      the members of their immediate families and judicial staff.

69.   Members of the putative Class are so numerous that joinder is impracticable. Upon

      information and belief, there are over one million individuals against whom Defendants

      discriminate pursuant to 26 U.S.C. § 6428(g)(1)(B). Plaintiffs do not know the precise

      number of Class members, as this information is in Defendants’ possession.

70.   The putative class shares common questions of fact and law. These include the common

      facts related to individuals who have a social security number and are married to spouses

      who lack a social security number, and the common questions: (1) whether 26 U.S.C. §




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      6428(g)(1)(B) violates the U.S. Constitution by discriminating against individuals with

      social security numbers who are married to individuals who lack social security numbers;

      (2) whether Plaintiffs and the Class suffered harm as a result of 26 U.S.C. § 6428(g)(1)(B)’s

      and Defendants’ unlawful policy and/or practice; (3) what equitable and injunctive relief

      for the Class is warranted; and (5) the scope of a resulting permanent injunction.

71.   The claims alleged by the named individual Plaintiffs are typical of the claims of the

      putative Class because the challenged statutory provision applies with the same force to

      the named individual Plaintiffs as they do to all other members of the Class.

72.   The named individual Plaintiffs will fairly and adequately protect the interest of the Class

      because there are no conflicts of interest between any class members and the named

      individual Plaintiffs possess a strong personal interest in the subject matter of this lawsuit

      and the claims raised. Plaintiffs are represented by counsel with expertise in class action

      litigation, complex federal litigation and litigation involving constitutional law. Counsel

      has the legal knowledge and resources to represent fairly and adequately the interests of all

      class members in this action.

73.   The universe of people affected by the CARES Act’s and Defendants’ unlawful policy

      and/or practice is ascertainable through Defendants’ records and, therefore, the Class is

      ascertainable.

74.   This class action may be maintained under Federal Rule of Civil Procedure 23(b) because

      prosecuting separate actions by individual Class members would create a risk of

      inconsistent or varying adjudications with respect to individual Class members that would

      establish incompatible standards of conduct for Defendants. Defendants also have acted

      or failed to act on grounds that generally apply to all Class members, necessitating the




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      declaratory and injunctive relief Plaintiffs seek. In addition, questions of law and fact

      common to Class members predominate over questions affecting only individual Class

      members. A class action is superior to other available methods for fairly and efficiently

      adjudicating the controversy because, among other things, a class action would concentrate

      a multiplicity of individual actions, which share common facts and legal disputes, in a

      single forum.

                                    CAUSES OF ACTION

                                 FIRST CAUSE OF ACTION

          Fifth Amendment to the U.S. Constitution (Substantive Due Process)

75.   Plaintiffs incorporate all of the allegations contained in the previous paragraphs of this

      complaint as though fully set forth here.

76.   The Fifth Amendment to the U.S. Constitution protects freedom of personal choice in

      matters of marriage and family life.

77.   26 U.S.C. § 6428(g)(1)(B)’s exclusion of Plaintiffs from receiving recovery payments,

      based only on to whom they are married “slic[es] deeply into the family itself.” Moore v.

      City of E. Cleveland, Ohio, 431 U.S. 494, 498 (1977). On its face, and as applied, 26

      U.S.C. § 6428(g)(1)(B) selects certain categories of married individuals who may receive

      recovery payments and declares that others may not.              In particular, 26 U.S.C. §

      6428(g)(1)(B) denies recovery payments to Plaintiffs based on their choice to marry

      individuals who lack a social security number.

78.   26 U.S.C. § 6428(g)(1)(B)’s threatens Plaintiffs’ freedom of choice in personal matters

      related to marriage and family, including the sanctity of Plaintiffs' interest in defining their

      families though personal choice.




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79.   26 U.S.C. § 6428(g)(1)(B) intentionally and substantially infringes upon and unduly

      burdens Plaintiffs’ liberty interests, as well as other interests that form the basis of

      Plaintiffs' fundamental right to marriage and to choose how to define their families.

80.   Plaintiffs’ choice of whom to marry is fundamental to their autonomy, dignity, and self-

      determination. 26 U.S.C. § 6428(g)(1)(B)’s exclusion of Plaintiffs from receiving recovery

      payments unduly interferes with Plaintiffs’ fundamental rights and liberty interests, is

      arbitrary, unfair, and unreasonable, and lacks an adequate justification.

81.   As a proximate result of Defendants’ conduct, Plaintiffs suffered injury to their

      constitutional rights under the Fifth Amendment’s Due Process Clause.

                               SECOND CAUSE OF ACTION

           First Amendment to the U.S. Constitution (Freedom of Expression)

82.   Plaintiffs incorporate all of the allegations contained in the previous paragraphs of this

      complaint as though fully set forth here.

83.   The First Amendment provides that “Congress shall make no law . . . abridging the freedom

      of speech.”

84.   Plaintiffs are members of mixed-status married couples who engage in protected First

      Amendment activity when Plaintiffs express their lawful marriage and commitment to their

      spouses who lack social security numbers through means including filing their joint federal

      tax returns.

85.   26 U.S.C. § 6428(g)(1)(B) violates Plaintiffs’ right to freedom of speech and association

      guaranteed by the First Amendment by denying them recovery payments because they

      express their lawful marriage and commitment to, and association with, their spouses in

      their most recent jointly-filed federal tax returns.




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86.   Defendants rely on Plaintiffs’ speech and association in their most recent tax returns to

      deny Plaintiffs recovery payments.

87.   There is no substantial governmental interest, rational basis, or compelling governmental

      interest in burdening Plaintiffs’ speech by denying Plaintiffs recovery payments because

      they exercise their First Amendment rights through means including filing joint tax returns

      with their spouses who lack social security numbers.

88.   As a proximate result of Defendants’ conduct, Plaintiffs suffered injury to their

      constitutional rights under the First Amendment.

                                 THIRD CAUSE OF ACTION

          Fifth Amendment to the U.S. Constitution (Equal Protection Clause)

89.   Plaintiffs incorporate all of the allegations contained in the previous paragraphs of this

      complaint as though fully set forth here.

90.   The Fifth Amendment to the United States Constitution guarantees all persons equal

      treatment under the law.    The right to marry is secured by the Equal Protection Clause.

91.   26 U.S.C. § 6428(g)(1)(B), on its face and as applied to Plaintiffs, violates the equal

      protection guarantee of the Fifth Amendment by burdening Plaintiffs’ fundamental right to

      marriage in a way that is incompatible with requirements of equality. Marriage has long

      been regarded as a fundamental right, the foundation of the family, and of society. It

      embraces the right to personal choice, individual autonomy, and dignifies couples who

      define themselves by their commitment to each other.

92.   As a direct result of 26 U.S.C. § 6428(g)(1)(B), the federal government treats Plaintiffs,

      who are legally married, differently than other married couples simply because their

      spouses lack social security numbers. As a result of the disparate treatment, Plaintiffs are




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       excluded from receiving recovery payments. 26 U.S.C. § 6428(g)(1)(B) also infringes on

       Plaintiffs’ right to enjoy all the benefits of marriage afforded to other married couples.

93.    Defendants cannot justify creating this classification that singles out one class of married

       individuals with social security numbers and subjects them to different treatment based on

       whom they marry.

94.    Defendants intentionally discriminate against Plaintiffs when they enforce this statute that

       infringes on the exercise of a fundamental right.

95.    As a proximate result of Defendants’ conduct, Plaintiffs suffered injury to their

       constitutional rights under the Fifth Amendment’s Equal Protection Clause.

96.    Defendants’ violation has caused and will cause Plaintiffs harm.


                                    PRAYER FOR RELIEF


WHEREFORE, Plaintiffs respectfully request that this Court:


       (a)    Declare that 26 U.S.C. § 6428(g)(1)(B) is unconstitutional and unenforceable
       because it violates the First Amendment to the U.S. Constitution and the Due Process and
       Equal Protection guarantees of the Fifth Amendment to the U.S. Constitution;

       (b)     Enjoin Defendants and their agents from enforcing 26 U.S.C. § 6428(g)(1)(B) and
       further enjoin Defendants from otherwise requiring Plaintiffs and other similarly-situated
       individuals to provide social security numbers for their spouses in order to receive recovery
       payments under 26 U.S.C. § 6428(a).

       (c)    Award Plaintiffs reasonable costs, expenses, and attorneys’ fees pursuant to 28
       U.S.C. § 2412; and

       (d)    Award such additional relief as the interests of justice may require.

Dated: May 19, 2020                           Respectfully submitted,

                                              /s/ Robert P. Newman
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                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 19th day of May 2020, I electronically filed
the above and foregoing document using the CM/ECF system, which automatically sends notice
and a copy of the filing to all counsel of record.


                                                            /s/ Nina Perales
                                                            Nina Perales




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